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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

 EMMETT G. GOODWIN,
                                        Plaintiff,

 vs.                                                 Case No. 14-2438 JWL/GLR

 MIDLAND CREDIT MANAGEMENT INC.,
                       Defendant.


                               STIPULATION OF DISMISSAL

       Plaintiff and Defendant file this stipulation of dismissal under Federal Rule of Civil

Procedure 41(a)(1)(A)(ii).

       1.      Plaintiff is Emmett G. Goodwin; Defendant is Midland Credit Management Inc..

       2.      On July 31, 2014, Plaintiff filed a Petition against Defendant in the District Court

of Wyandotte County, Kansas.

       3.      On September 2, 2014, Defendant removed the case to the United States District

Court for the District of Kansas (Doc. 1).

       4.      Plaintiff now moves to dismiss the suit.

       5.      Defendant agrees to the dismissal.

       6.      This case is not a class action.

       7.      A receiver has not been appointed in this case.

       8.      This case is not governed by any federal statute that requires a court order for

dismissal of the case.

       9.      Plaintiff has not previously dismissed any federal- or state-court suit based on or

including the same claims as those presented in this case.

       10.     This dismissal is with prejudice to refiling.
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11.   Each party is to bear its own fees and costs.

                                    Respectfully submitted,




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